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 3
                              UNITED STATES DISTRICT COURT
 4                           EASTERN DISTRICT OF CALIFORNIA
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 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )                 1:03-CR-5453 OWW
 8                                 )
          v.                       )
 9                                 )
     EDDY GEORGE,                  )
10                                 )
                    Defendant      )            ORDER FOR REIMBURSEMENT
11   ______________________________)
12
          It is hereby ordered that defendant Eddy George, shall
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     reimburse the Drug Enforcement Administration for the attendance
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     of witness James Jones at trial in the amount of $791.80.
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          Any income received by the defendant for work while
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     incarcerated shall be forwarded to: Drug Enforcement
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     Administration, Attn: Administrative Officer, 450 Golden Gate
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     Avenue, San Francisco, CA 94102, until such time as the debt is
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     paid in full.
20   IT IS SO ORDERED.
21   Dated: August 3, 2006                  /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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